 

Case 18-11875 Doc 12-1 Fi|eci 02/28/18 i-’agei 0T28

Lomt #_

ADJUSTABLE RATE NOTE
(L|BOR S|x-Month index (As Pub|ishod in The Wai| Stroet Journai)-Rato Caps)

TH|S NOTE CONTA|NS PROV|S|ONS ALLOW|NG FOR CHANGES |N MY |NTEF|EST FtATE AND MY
MONTHLY PAYMENT. TH|S NOTE LlMlTS THEAMOUNT MY|NTEREST RATE CAN CHANGEATANY ONE
TlME AND THE MAX|MUM RATE l MUST PAY.

Juua 27, 2006 cannon cr'r!, Mt>
inst-el [cit~.y] [state]

1130 PEWTER COURT, BOWIE, MD 20716
[Property Address]

1. BOFtFtOWER’S PROM|SE TO PAY

in return for a loan that i have received, i promise to pay U.S. $212,000.00 (this amount is called
"Principa|"), plus interest, to the order of Lender. Lender is F:tas'.t.‘ tioME MoRTeAeE coRPoRATIoN, A
MAR!LAN|) coneotuv.t'zou.

iw|ii make ali payments under this Note in the form of cash, check or money order.
, l understand that Lender maytransterthis Note. Lenderor anyone whotakes this Note by transferand who is entitled
to receive payments under this Note is called the "Note Hoider."

2. |NTEFtEST

interest will be charged on unpaid principal until the lull amount oi Princlpa| has been paid. iwi|i pay interest at a
yearly rate ot 'r . ?50% . The interest rate i will pay may change in accordance with Section 4 of this Note.

The interest rate required by this Sectlcn 2 and Section 4 of this Note is the rate | will pay both before and after any
deiault described in Sectlon 7{8} ot this Note,

3. PAYMENTS

{A] Tlrno and Piace of Peymente

| will pay principal and interest by making a payment every month.

| will make my monthly payments on the IST day of each month beginning on N.tGusT 1 , 2006 .
i will make these payments every month until l have paid ali of the principal and interest and any othercharges described
below that l may owe under this Note. Each monthly payment will be applied as oi‘ its scheduled due date and will be
applied to interest before Princ|pa|‘ it, on .Jut.tr 1, 2036, i still owe amounts under this Note, iwiii
pay those amounts in iul| on that date, which is called the "Maturlty Date."

l will make my monthly payments at 3003 CoaPoRA',r.‘E nn sTE A

BALTIHORE' "° 21236 0RlGlNAL

or at a dilierent place if required by the Note Hoider.

(B) Amount ot Niy initial Monthly Payrnonts

Each ot my initial monthly payments will be in the amount ot U.S. $1 , 398. 56 . This amount may change.

[C} Menthly Payment Changes

Changes in my monthly paymentwl|| reflect changes in the unpaid principal ot my loan and in the interest rate that
l must pay. The Note Hoider will determine my new interest rate and the changed amount of my monthly payment in
accordance with Seotion 4 of this Note.

4. |NTEREST RATE AND MONTHLY PAYMENT CHANGES

(A) Change Datcs

The interest rate l will pay may change on the lsT day of JULY, 2009 and on that day every
6Ttt month thereafter. Each date on which my interest rate could change is called a "Change Date."

(B) The index ,

Beginnlng with the first Change Date, my interest rate wiii be based on an index. The "index" is the average of
interbank offered rates tor six month U.S. dollar-denominated deposits in the London market (“LiBOFt"). as published
in The Wa|i Stroot Journal. The most recent index figure available as of the first business day of the month immediately
preceding the month irl which the Change Date occurs le called the "Current index."

ll the index is no longer availab|e. the Note Hoider wl|i choose a new index that is based upon comparable
intormaijon. The Note Hoider will give me notice of this choice.

(C) Ca|cuiatlon of Changes

Before each Change Datel the Note Hoider will calculate my new interest rate by adding FIvE AND
THaEe:-Eloa'rtts percentage point(s) ( 5 . 375% ) to the Current index. The Note
Hoider will then round the result of this addition to the nearest one-eighth ot one percentage point (0.125%). Sub]ect
to the limits stated in Section 4tDJ beiow, this rounded amountwi|i be my new interest rate until the next Change Date.

The Note Hoider will then determine the amount of the monthly payment that would be sufficient to repay the unpaid
principal that | am expected to owe at the Change Date in full on the Maturity Date at my new interest rate in substantially
equal payments. The result ot this calculation w||i be the new amounth my monthly payment

(D) L|mlts on interest Flato Changos

The interest rate | am required to pay at the first Change Date will not be greater than 10 . 750% or less than

7 . 750% . Thereafterl my interest rate wiii never be increased or decreased on any single Change Date by more
than ONE percentage point(s) ( 1 .000% l irom the rate ot interesti have
been paying for the preceding 6 month{s). My interest rate will never be greater then 1 3 .?Sc% or

less then 7 .750% .
Init;ialei

MULTiSTATE ADJUSTABLE RATE NOTE-LlBOH SlX-MONTH |NDEX (AS PUBLI_SHED |N THE WALL STREET JOURNAL)--S|rlgie Fam||y-
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(E) El‘foctivo Date of Changoa mm ll-

lilly new interest rate will become effective on each Change Date. l will pay the amount of my new monthly payment
beginning on the first monthly payment date after the Change Date until the amount of my monthly payment changes again

{F) Notics of Changas ' '

The Note Hoider will deliver or mail to me a notice of any changes in my interest rate and tha amount of my monthly
payment before the effective date of any change. The notice will include information required by law to be given to me
and also the title and telephone number ot a person who will answer any question l may have regarding the notice.

5. BOF|HOWER'S H|GHT TO PREPAY

luhave the right to make payments of Principal at any time before they are due, A payment of Principai only is known
as a F'repaymeni," When |melie a Prepayment. |wili tell the Note Hoider fn writing thati am doing so. l may not designate
a payment as a Prepayrnent if i have not made ali the monthly payments due under this Note.

l may make a full Prepayment or partial Prepayments without paying s Prepayment charge. The Note Hoider will
use my Pre payments to reduce the amount of Pri ncip al that i owe under this Note. Howe ver, the Note Hoider may apply
my Prepaymsni to the accrued and unpaid interest on the Prepayment amount before applying my Prepayment to
reduce the Prlncipai amount of this Note. if l make a partial Prepayment, there will be no changes in the due dates of
my monthly payments unless the Note Hoider agrees in writing to those changes. italy partial Prepayrnent may reduce
the amount cf my monthly payments after the irst Change Date following my partial Prepayment. However, any
reduction due to my partial Prepayment may be offset by an interest rate increase.

 

6. LOAN CHARGES

lf a lawr which applies to this loan and which sets maximum loan charges, is finally interpreted so that the interest
or other loan charges collected or to be collected in connection with this loan exceed the permitted ilmils, then: ial any
such loan charge shall be reduced by the amount necessary to reduce the charge to the permitted limit; and (b] any
sums already collected from me that exceeded permitted limits will be refunded to rne. The Note Hoider may choose
to make this refund by reducing the Princlpa| l owe under this Note or by making a direct payment to mo. ll a refund
reduces Principal. the reduction will be treated as a partial Prepayment.

`r'. BORROWEFI'S FAii..URE TO PAY AS HEOU|RED

{A} Late Charges for O\rerdue Payment¢

if the Note Hoider has not received the full amount of any monthly payment by the end of 15 calendar
days after the date it is due, l will pay s late charge to the Note Hoider. The amount of the charge will be 5 . 000%
of my overdue paymenth principal and lnterest. l will pay this late charge promptly but only once on each late payment

(B) Dsfau|t

if l do not pay the full amount of each monthly payment on the date it is due, l wiii be in defauit.

(C) Not|cs of Dofault

ii l am irt default. the Note Hoider may send me a written notice telling ma that it i do not pay the overdue amount
by a certain dater the Note Hoider may require ms to pay immediately the full amount cf Principai that has not been paid
and ali the interest that l owe on that amount That date must be at least 30 days after the date on which the notice is
mailed to me or delivered by other means.

(D) No Waiver By Note Hoider

Even ii, at a time when l am in detauit. the Note Hoider does not require me to pay immediately in full as described
abovel the Note Hoider will still have the right to do so if | arn in default at a iater tlme.

{E} Payment of Note Hoider'e Coats and Exponaao

ii the Note Hoider has required me to pay immediately in full as described above, the Note Hoider will have the right
to be paid back by me for all of its costs and expenses in enforcing this Note to the extent not prohibited by applicable
iaw. Those expenses lnciude. for example, reasonable attorneys' fees.

8. GlViNG OF NOT|CES

Uniess applicable law requires a different method, any notice that must be given to me underthis Note will be given
by delivering il or by mailing ii by first class mail to me at the Property Address above or at a different address if | give
the Note Hoider a notice of my different address

Uniess the Note Hoider requires a different method. any notice that must be given to the Note Hoider under this Note
will be given by mailing it by first class mall to the Note Hoider at the address stated in Sect|on S(A) above or at a different
address ii l am given a notice of that different address.

9. OEILiGATlONS OF PEHSONS thDEFf TH|S NOTE

ii more than one person signs this Note. each person is fully and personally obligated to keep all of the promises
made in this Note. including the promise to pay the full amount owed. Any person whole a guarantor. surety or endorser
of this Note is also obligated to do these dtings. Any person who takes over these obligations including the obligations
cf a guarantor. surety or endorser of this Note. la also obligated to keep all of the promises made in this Note. 'ii1e Note
Hoider may enforce its rights under this Note against each person individually or against ali of us together. This means
that any one oi us may be required to pay all of the amounts owed under this Note.

10. WA|VERS

l and any other person who has obligations under this Note waive the rights of Presentment and Notice of Dlshonori
“Prcsentment" means the right to require the Note Hoider to demand payment of amounts due. "Notice of Dlshonor*l
means the right to require the Note Hoider to give notice to other persons that amounts due have not been paid.

11. UN|FORM SECURED NOTE

This Note is a uniform instrument with limited variations in some jurisdictionsl in addition to the protections given
to the Note Hoider under this Note, a Mortgage. Deed ofTrust, or Security Deed (the "Security lrlstrr.iment",i, dated the
same date as this Note. protects the Note Hoider from possible losses that might result ifl do not keep the promises
that l make in this Note. That Security instrumentdasoribes how and under what conditions i may be require to make
immediate payment in full of ali amounts | owe under this Note. Some of those conditions reid as toiio '

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Case 18-11875 Doe_’le’_Z-i_l:_lled-C…-
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Transl'or of the Property or a Beneficial interest in Borrower. As used in this Section 18. "lnteres in e

Property" means any legal or beneficial interest ln the Property. includingl but not limited to, those beneficial
interests transferred in a bond for deed. contract for deed. installment sales contractor escrow agreement, the
intent of which ls the transfer of title by Borrower at a future date to a purchaser.

ll all or any part of the Property or any interest ln the Property is sold or transferred (or if Borrower ls not a
natu ral person and a beneficial interest in Borrower is sold ortransferred) without Lender's priorwrltten consent,
Lender may require immediate payment in full of all sums secured by this Security instrument However, this
option shall not be exercised by Lender if such exercise is prohibited by Applicable Law. Lender also shall not
exercise this option if: lai Borrower causes to ba_st.tbmitted to Lender information required by Lender to evaluate
the intended transferee as if a new loan were being made to the transferee; and (b) Lender reasonably
determines that Lender's security will not be impaired by the loan assumption and that the risk of a breach of
any covenant cr agreement in this Security instrument is acceptable to Lender.

To the extent permitted by App|lcable Law, Lender may charge a reasonable fee as a condition to Lender's
consent to the loan assumption. Lender also may require the transferee to sign an assumption agreementthat
is acceptable to Lender and that obligates the transferee to keep all the promises and agreements made in the
Note and in this Security instrument. Borrower will continue to be obligated under the Note and this Security
instrument unless Lender releases Borrower |n writing

ll Lender exercises the option to require immediate payment ln fu|l, Lender shall give Borrower notice of
acceleration. The notice shall provide a period of not less than 30 days from the date the notice is given in
accordance with Sectlon 15 within which Borrower must pay all sums secured by this Security instrument lt
Borrowerfai|s to pay these sums prior to the expiration otthle perlod, Lender may invoke any remedies permitted
by this Security instrument without further notice or demand on Borrower.

W|TNESS THE HAND(S) AND SEAL(S) OF THE UNDERS|GNED.

THE PROVISIONS CONTAINED IN THE "ADDENDUM TO NOTE", SIGNED BY ALL BURRUWERS NAMED
HEREIN, ARE HEREBY INCORPORATED INTO AND SI'I]\LL D AND UPFLEHEN 5 N E»
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BALLOON NOTE ADDENDUM
TO ADJUSTABL'E RATE NOTE

 

(lndex: Slx-Month London lnterbank Ottered Rato (“LlBOFi") As Publ|shed in The Wal| St. Journal - Flato Caps)
(Amortizatlon Parlod: FIFTY mass
(Not to be Used for Texas Homestead Loans Un|oss Proceods Used On|y i‘or Purchase Monoy or
Flefinance of Purchaso Money)

TH|S LOAN |S PAYABLE lN FULL ON THE MATUR|TY DATE SE|' FORTH |N THE NOTE. YOU MUST REPAY THE
ENT|RE PR|NC|PAL BALANCE OF THE LOAN AND UNPA|D |NTEREST THEN DUE. THE LENDEFl lS UNDER NO
OBL|GAT|ON TO REF|NANCE THE LOAN AT THAT TlME. YOU W|LL, THEREFORE, BE REQU|RED TO MAKE
PAYMENT OUT OF OTHEF\ ASSE|'S THAT YOU MAY OWN, OF| YOU W|LL HAVE TO FlND A LENDER, WH|CH
MAY BE THE LENDER YOU HAVE TH|S NOTE W|TH, W|LL|NG TO LEND VOU THE MONEY. lFYOU REF|NANCE TH|S
LOAN W|~lEN THE F|NAL PAYMENT lS DUE, YOU MAY HAVE TO PAY SOME OR ALL OF THE CLOS|NG COSTS
NORMALLY ASSOC|ATED W|TH A NEW LOAN EVEN lF YOU OBTA|N REF|NANC|NG FROM THE SAME LENDER.

This Ba||oon Note Addendum to Ad]ustable Flate Note (this “Addendum") is made this 27'1‘H clay of
JuNE, 2006, and is incorporated into and shall be deemed to amend and supplement the Ad]ustable Rate
Note ofthe same date (the "Note") and any olherAddenda to the Note given by the undersigned (the "Borrower") to evidence
Borrower's indebtedness to F|FiST FFlANKL|N, a Division ofNational City Bank oflndlana (the "Lender")l which indebtedness
is secured by a Mortgage, Deed of Trust or Security Deed (the “Security lnstrument"), of the same date and covering the
property described in the Security instrument and located at:

1130 PEwTER collar
130er , MD 207 16

ADD|TlONAL COVENANTS: Uniess specmcaliy denned in this Addendum, any capitalized terms shall have the same
meaning as in the Note. Notwlthstandlng anything to the contrary set forth in the Note, Addenda to the Note or Security
instrument, Borrower further covenants and agrees as toilows:

i. The initial monthly payments under Note are calculated using a FIF'.I.‘Y (50)
year amortization period. Monthly payments after the tirst Change Date will be calculated using a

FIFTY (50) year amortization period. Section 4(C) ofthe Note is hereby restated
as follows:

4. |NTEREST RATE AND MONTHLY PAYMENT CHANGES
(A) Change Datos
(See Note)

(B) The lndex .._' \..'. '=-IZ, .';..'.: "`.;~Z»`{r'r ,.»,"‘L§
(See Note)

(C) Ca|culatlon of Changes

Bel‘ore each Change Date, the Note Hoider will calculate my new interest rate by adding FIvE AND
THREE-EIGHTHS percentage point(s) ( 5 . 375% ) to the Current lnde)<. The Note
Hoider will then round the result of this addition to the nearest one-eighth of one percentage point (0.125%). Subject to the
limits stated |n Section 4(D) below, this rounded amount will be my new interest rate until the next Change Date.

The Note Hoider will then determine the amount oithe monthly payment that would be sufficientto repay the unpaid
principal that i am expected to owe at the Change Date in full FIFTY (50)
years alter the date of the Note at my new interest rate in substantially equal peyments. The result ofthis calculation will be
the new amount of my monthly payment l will pay the remaining unpaid principal balance on the Maturily Date.

(D) Limlts on interest Fiato Changes
(See Note)

(E) Effective Date of Changes

(See Note) 1
Bal|oon Note Addendum to Ad|ustable Flate Note FF0385| ln:l. tialsl
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On||ne Documents, |nc. PBgO 1 Of 2

 

 

Case 18-11875 DOC-’i-Z-’i_FHe-ei-QZ-,LZSH-S_FZM
(F) Notlca of Changos LOAN h -

(See Note)

ii. Ali other provisions of the Note and otherAddenda to the Note are unchanged by this Addendum and remain in full force
and effect.

 

By signing belowl Borrower accepts and agrees to the terms and conditions contained in this Balloon Note Addendum to

Ad]ustable Rate Note
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Baiioon Note Addendum to Ad|uetable Fiats Note FFOOBS|
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PR|NCE GEORGE'S COUNTY ClRCUlT COURT (Land Records) PM 27427, p. 0454, MSA_CE64_27576. Date available 04/16/2007. Prrn e

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Cil`iL`UlT COURT

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RETURN TO:

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DEED OF TRUST

 

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DEF|N|T|ONS

Worcle used in multiple sections of this document are defined below and other words are defined in
Sections 3,11.13, 18, 20 end 21. Certain miss r

egarding the usage of words used in this document
are also provided in Section 16.
(A) “Seourlty Instrument" means this doournent. which is dated dm 27 , 2006,
together with ali Ftiders to this document

(B] "B°"OWG|”I$ URBU'U\ F PHILPOT, 88 EER S°LE AND SEPARATE PROPERTY.

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RECBi`i'[llii[.` FEE

Borrower is the trustor under this Security instrument
(C) "Lendsr" ls r1 Rs'r sons nonunion comsanol.

 

Lender is a conokaz‘!on, organized and existing
under the laws of m‘.rmn.

Lender's address is
8003 concurs on s'rs A, BALTIMoss, no 21236.

Lender is the beneficiary under this Security lnstrurnsnt.
(°)"TN"°°"'S oavia E. waters and Antnony B. olmert, sr.

(E) “Not»s" means the promissory note s

igned by Borrowsranddated ms z'r, 2006.
The Note states that Borrower owes i.e

nder ***TWO BU'IDRED TWELU'E THOUEI\IID AND lo/IOIJ

"-*""H**- Dei|ars iU.S. sslz,ooo.oo )
plus interestl Borrower has promised to pay this debt in regular Periodic Payrnents and to pay the debt
in full no later then JuL! 1 , 2036 .

(F) "Propsrty" means the property that is described below underthe heading
Property." -

(G) "Loan" means the debt e\ddenc
charges due under the Note. and sli

“Transier of nghts in the

ed by the Notel plus |ntarsst. any prepayment charges and late

sums due under this Security instrumentl plus intere t.
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LOAN m
(H) "Ftlders" means ali Fiiders to this Security instrument thatare executed by Borrc er. e o owing
Fliders are to be executed by Borrower [check box as applicable]:

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carlson aider named unit oevetopment aider [`__lorher{s} rspeciry]
1»4 Famiiy Flider i::l Biweekly Payment Ftlder
[:lV,A. Rider

(l} "Appllcabie Lew” means all controlling appiicab|e tederai.
ordinances and administrative rules and orders ithat have the eer
non-appealable judicial opinions.
(J) "Communlty Assccistion Duss, Fees, and Assessments"
and other charges that are imposed on Borrower or the Pro
homeowners association or similar organization
(K} "Electronlc FundsTransfer”rneans anytransler oil‘unds. otherthan atransacllon originated by checi<,
drait, or similar paper instrumentl which is initiated through an electronic terminal. telephonic instrumentl
computer. or magnetic tape so as to order, instruct. or authorize a iirlancia| institution to debit or credit an
accountl Such term includes, but is not limited to, pointci-eaie transiers, automated teller machine
transactionsl transfers initiated by teiephcne. wire transfers. and automated clearinghouse transiers.
iL) "Escrow items" means those items that are described in Sectlon 3.
(M) "Mlscsllaneous Proceeds"means any compensation, settlement

state and local statutes, regulations.
ct cilaw} as weil as all applicable iinai,

means all duesl lees, assessments
perty by a condominium association.

{N} "Mortgsge tnsurance"
on, the Loan.

(0) "Periodlc Psyment" means the regulerty scheduled amount due for (i) principal and interest under
the Note. plus (li] any amounts under Section 3 cri this Security instrument.

(F) "RESPA" means the Fleal Estate Settlement
implementing regulation. Fiegulation X i24 C.F.Fi. F'ert 3500)
iime, or any additional cr successor legislation or re '

refers to all requirements end restrictions that are imposed
in regard to a "federal|y related mortgage loan " even litho Loan does not qualify as a "iederaily related
mortgage loanH under FtESPA.

(Q) "Successor in interest of Borrower
or not that party has assumed Borrowe

means insurance protecting Lender against the nonpayment of, or default

r” means any party that has taken title to the Property. whether
r's obligations under the Note and/or this Security lnstrument.

THANSFER OF Fi|GHTS iN THE PROPEF|TY

This Security instrument secures to Lender: (i} the repayment of the Loan. and all renewals. extensions
and modifications of the Note; and [ii) the performance of Borrower's covenants and agreements
under this Security instrument and the Note. For this purpose. Borrower irrevocably grants and
conveys to Trustee. in trust. with power of sale. the following described property located in the

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A CE64_27576. Date available 04/16/2007. Printed 11/30/2[)16.

which currently has the address of 1130 PEwTER couRT, ooer,

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Maryland 20716 ("Property Address"):
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EXHIBIT “A”
FILE-

LOT NUMBERED FIFTY-TWO (52), IN BLOCK LETTERED "C"
THE PI,AT ENTITLED "PLAT FOUR, RIDGEVIEW ESTATES A
PLAT IS RECORDED AMONG THE LAND RECURDS OF PRlN
COUNTY, MARYLANDIN PLAT BOOK NLP NO. 127 PLAT 28.

, AS SHOWN ON
DDITION", WHICH
CE GEORGE'S

 

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Lotu~r IrM
TOGETHEH WiTi-i all the improvements now or hereafter erected on the pr 1 an a
easements, apt:iurtenancesl and fixtures now or hereafter a part of the property Ali replacements and

additions shall also be covered by this Security instrument Ali of the foregoing is referred to in this
Security instrument as the '*Property."

BOHF|OWEH COVENANTS that Borrower is lawfully seised of the estate hereby conveyed and has

the right to grant and convey the Properly and that the Property rs unencumbered. except for
encumbrances of record. Borrower warrants and will defend general

ali claims and demands, subject to any encumbrances of record.

THiS SECUR|TY iNSTHUNiENT combine
covenants with limited variations by iurlsdlctio
property.

s uniform covenants for national use and non-uniform
n to constitute a uniform security instrument covering real

UN|FORM COVENANTS. Borrower and Lender covenant and agree as follows:

1. Payment of Prlncipai, interest Escro\r.r items. Prepayment Charges, and Late Charges.
Borrower shall pay when due the principal oi, and interest on. the debt evidenced by the Note and any
prepayment charges and late charges due under the Note. Borrower shall also pay funds for Escrow
items pursuant to Section 3. Payments clue under the Note and this Security instrument shalibe made
in U.S. currency. However. if any chech er other instrument received by Lender as payment under the
Note or this Security instrument is returned to Lender unpaid, Lender may require that any or all
subsequent payments due under the Note and this Security instrument be made in one or more ofthe
following forms. as selected by Lender: {a) cash: fbi money order; ici certified check. bank check.
ireasurer‘s check or cashier's check. provided any such check is drawn upon an institution

whose deposits are insured by a federal agencyr instrumentailty, or entity; or (di Electronic Funds
Transfer.

Payments are deemed received
at such other location as may be d

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the covenants and agreements secured by this Security instrumentl
. Appilcetion of Payments or Procoeds. Exoept as oihenrvise described in this Section 2. all

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, second to any other amounts due under this Security instrument
and then to reduce the principal balance of the Noie.

if Lender receives a payment from Borrower for a delin
sufficient amount to pay any late charge due.
end the late charge. if more than one Periodlc
received from Borrower to the repayment of
payment can be paid in tuil. To the extent that
payment oi one or more Periodic Payments.

quent Periodic Payment which includes a
the payment may be applied to the delinquent payment
Payment is outstandingl Lender may apply any payment
the F'eriodio Payments ifl end to the extent that. each
any excess exists after the payment is applied to the full

Payments.

3. Funds for Esorow lterns. Borrower shall pay to Lender on the day Psriodlc Payments are due
under the Note. until the Note ls paid in fuil, a sum (the "Funds"i to provide for payment of amounts due
ior: fall taxes and assessments and other items which can attain priority over this Security instrument
as a lien or encumbrance on the Froperty; fbi leasehold payments or ground rents on the Property, if
any: ici premiums for any and eli insurance required by Lender under Sect|on 5; and [d) Mortgage
insurance premiums, it any. or any sums payable by Borrower to Lender in lieu of the payment ot
Mortgage insurance premiums in accordance with the provisions of Section 10. These items are called

"Escrow ltems." At origination or at any time during the term of the Loan, Lender may require t t
Communlty Aesociation Dues. Fees. and Aesessments. if any, be escrowed by Borrow r.
Initialsr

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dues, fees and assessments shell be an Escrow item. Borrower shall promptly furnish to Lender ali
notices cf amounts to be paid under this Sectlon. Borrower shall pay Lender the Funds for Escrow items
unless Lender waives Borrower's obligation to pay the Funds for any or ali Escrow ltems. Lender may
waive Borrower‘s obligation to pay to Lender Funds for any or ali Escrow items at any time. Any such
waiver may only be in writing, in the event of such waiver. Borrower shall pay directly, when and where
payabie. the amounts due for any Escrow items forwhich payment cf Funds has been waived by Lender
and. it Lender requires. shall furnish to Lender receipts evidencing such payment within such time
period as Lender may require. Borrower's obligation to make such payments and to provide receipts

shall for eli purposes be deemed to be a covenant and agreement contained in this Security instrumeni,

as the phrase "covenant and agreement" is used in Sectlon 9. if Borrower is obligated to pay Escrow

items direc tty. pursuant tc a welver. and Borrower fails to pay the amount due foran Escrow ltem. Lender
may exercise its rights under Sectlon 9 and pay such amount and Borrower shall then be obligated

3.

Lender may. at any time. collect and hold Funds in an amount lai sufitclent to permit Lender to apply
the Funds attho time specified under FtESPA. and fbi hctto exceed the maximum amounts lender can
require under HESPA. Lendershaii estimate the amount cf Funds due on the basis of current data and
reasonable estimates of expenditures of future Escrow items or othen»vise in accordance with
Appiicab|e i_aw,

The Funds shell be held in an institution whose deposits are insured by a federal agency,
instrumentalth or entity (including Lender. if Lender is an institution whose deposits are so insured) or
in any Federai Home Loan Elank. Lender shall apply the Funds to pay the Escrow items no later than
the time specified under RESPA. Lender shall not charge Borrower for holding and applying the Funds.
annually analyzing the escrow account or verifying the Escrow itemst unless Lender pays Borrower
interest on the Funds and Appiicabie Law permits Lender to make such a charge, Unless an agreement

is made in writing or Appilcabie Law requires interest to be paid on the Funds. Lender shall not be
required to pay Borrower any interest or earnings on the Funds. Borrower and Lender can agree in
writing. however` that interestshaiibe paid on the Funds. Lender shall give to Borrower. withoutcharge.
an annual accounting of the Funds as required by HESF'A.

if there is a surplus of Funds held in esorow, as defined under RESPA, Lender shall account to

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than 12 monthly payments if there is a deficiency of Funds held in escrovv. as defined under RESPA,
Lender shall notify Borrower as required by FtESPA. and Borrower shall pay to Lender the amount
necessary to make up the denciency in accordance with FiESPA, but in no more than 12 monthly
payments.

Upon payment in tull cfail sums secured by this Security instrument, Lender shall promptly refund
tc Borrower any Funds held by Lender.

4. Charges; Uens. Borrower shall pay ali taxes. assessmentsl charges. fines. and impositions
attributable to the Property which can attain priority over this Security instrument leasehold payments
or ground rents on the Property. if eny, and Community Association Dues, Fees. and Assessments. if
eny. Tc the extent that these items are Escrow items, Borrower shall pay them in the manner provided
in Sectlon 3.

Borrower shall promptly discharge any lien which has priority over this Security instrument unless
Borrower,' [a] agrees in writing to the payment of the obligation secured by the lien in a manner
acceptable to Lender. but only so long as Borrower is performing such agreement; {b) contests the lien
in good faith by, or defends against enforcement cf the lien in. legal proceedings which in Lender's

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Borrower shall satisfy the lien or take one or more cf the actions set forth above in this Sectlon 4.

Lender may require Borrower to pay a one-time charge for a real estate tax verification end,!or
reporting service used by Lender in connection with this Loan.

5. Property insurance. Borrower shall keep the improvements now existing or hereafter erected
on the Property insured against loss byire. hazards included within the term "extended coverage," and
any other hazards including, but not limited to, earthquakes and tloods‘ for which Lender requires
insurance. This insurance shall be maintained in the amounts (inciuding deductible ievefs) and for the
periods that Lender requires. What Lender requires pursuantto the preceding sentences can change
during the term of the Loan. The insurance carrier providing the insurance shall be chosen by Borrower

subject to Lender*s right to disapprove Borrower's choice. which right shall not b
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unreasonably Lender may require Borrower to pay. in connection with this Loan. elther: (a) a one-time
charge for flood zone determination, certincation and tracking services; or ibi a one-time charge for
flood zone determination and certification services and subsequent charges each time remappings or
similar changes occur which reasonably might affect such determination or certlncation, Borrower shall
also be responsible for the payment ot any fees imposed by the Federai Emergency Management
Agency in connection with the review of any flood zone determination resulting from an objection by
Borrower.

ll Borrower fails to maintain any of the coverages described above. Lender may obtain insurance
coverage. at Lender's option and Borrower's expense Lender is under no obligation to purchase any
particular type or amountofcoverage. Therefor . such coverage shall cover Lender. but might or might
not protect Borrower, Borrower's equity in the Property, or the contents ot the Property. against any risk.
hazard or liability and might provide greater or lesser coverage than was previously in etiect. Borrower
acknowledges that the cost of the insurance coverage so obtained might significantly exceed the cost
of insurance that Borrower could have obtained Any amounts disbursed by Lender under this Sectlon
5 shall become additional debt ot Borrower secured by this Security instrument These amounts shall
bear interest at the Note rate from the date of disbursement and shall be payabie. with such interest.
upon notice from Lender to Borrower requesting payment

Ali insurance policies required by Lender and renewals of such policies shell be subject to Lender's
right to disapprove such policies, shall include a standard mortgage clausel and shall name Lender as
mortgagee andlor as an additional loss payee. Lender shall have the right to hold the policies and
renewal certiiicates. ll Lender requires. Borrower shall promptly give to l_encier all receipts of paid
premiums and renewal notices. if Borrower obtains any term of insurance coverage, not otherwise
required by Lender. tor damage to, cr destruction of. the Prepertyl such policy shall include a standard
mortgage clause and shall name Lender as mortgagee and/or as an additional loss payee.

in the event cf ioss, Borrower shall give prompt notice to the insurance carrier and Lender. Lender

may make proof of loss if not made promptly by Borrowa r. Unless Lender and Borrower otherwise agree
in writing. any insurance proceeds, whether or not the underlying insurance was required by Lender.
shall be applied to restoration or repair ot the Property. il the restoration cr repair is economically feasible
and Lender's security is not lessened During such repair and restoration period, Lender shall have the
right to hold such insurance proceeds until Lender has had en opportunitth inspect such Property to
ensure the work has been completed to Lender's satisfaction, provided that such inspection shall be
undertaken prom ptly. Len der may disburse proceeds torfhe repairs and restoration in s single payment
or in a series of progress payments as the work is completed Unless an agreement is made in writing
cr Applicabie Law requires interest to be paid on such insurance prcceeds, Lender shall not be required
to pay Borrower any interest cr earnings on such proceeds Fees for public adiusters‘ or other third
parties, retained by Borrower shall not be paid out or tha insurance proceeds and shall be the sole
obligation of Borrower, ifthe restoration or repair is not acenomicaiiyteasible or Lender's security would
be |essened. the insurance proceeds shall be applied to the sums secured by this Security instrument
whether or not than due. with the excess, if any. paid to Borrower. Such insurance proceeds shall be
applied in the order provided for in Sectlon 2.

li Borrower abandons the Property. Lender may fi|e, negotiate and settle any available insurance
claim and related matters. if Borrower does not respond within 30 days to a notice from Lender that
the insurance carrier has offered to settle a claim. then Lender may negotiate and settle the ciaim. The
SO-day period will begin when the notice le given. |n either event. or i'i Lender acquires the Property
under Sectlon 22 or otherwisa, Borrower hereby assigns to Lender lai Borrower's rights to any
insurance proceeds in an amount not to exceed the amounts unpaid under the Note or this Security
instrumentl and (b} any other cf Borrower's rights {other than the right to any refund of unearned
premiums paid by Borroweri under all insurance policies covering the Property, insofar as such rights
are applicable to the coverage cl the Property. Lender may use the insurance proceeds either to repair
cr restore the Property or tc pay amounts unpaid under the Note or this Security instrument whether
or not then due,

6. Occupancy. Borrower shall occupy, establish. and use the Property as Borrower's principal
residence within 60 days after the execution of this Security instrument and shall continue to occupy
the Property as Borrower's principal residence for at least one year after the date cf occupancy, unless
Lender otherwise agrees in writing, which consent shall not be unreasonably withheid, or unless
extenuating circumstances exist which are beyond Borrower's control.

7. Proservatlcri, Malntenarlce and Protection of the Property; lnspoctlons. Borrowershall not
destroy, damage or impair the Property. allow the Property to deteriorate or commit waste on the
Property. Whether or not Borrower is residing in the Property, Borrower shall maintain the Property in
order to prevent the Property from deterioraan or decreasing in value due to its condition. Unless it is
determined pursuant to Sectlon 5 that repair or restoration is not economically feasible, Borrower shall
promptly repair the Property if damaged to avoid further deterioration or damage. if insurance or
condemnation proceeds are paid in connection with damage to. or the taking of, the Property. Borrower

shall be responsible for repairing or restoring the Property only ii Lender has released proceeds for such
purposes Lender may disburse proceeds fortna repairs and restoration in a single pay-nzjtiorI ap

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series of progress payments as the work is completed if the insurance or condemnation proceeds are
not sutllcient to repair or restore the Property, Borrower is not relieved of Borrower's obligation for the
completion of such repair or restoration.

Lender or its agent may make reasonable entries upon and inspections of the Property. if it has
reasonable cause, Lender may inspect the lntericr ot the improvements on the Property_ Lender shell
give Borrower notice at the time of or prior to such an interior inspection specifying such reasonable
cause.

8. Borrower's Loan Application. Borrower shall be in delauit if, during the Loan application
process, Borrower or any persons or entities acting at the direction of Borrower or with Borrower's
knowledge or consent gave materially ta|se, misieading. or inaccurate information or statements to
Lender lcr failed to provide Lender with material lnion'nation) in connection with the Loan. Material
representations inciude. but are not limited to, representations concerning Borrower's occupancy oithe
Property as Borrower's principai residence.

9. Protection of Lender's interest ln the Property and Rights Under this Security instrument

ii lai Borrowerlal|s to perform the covenants and agreements contained in this Security instrument. lb]
there is a legal proceeding that might signiiicantiy arrest Lender's interest in the Property andior rights
under this Security instrument {such as a proceeding in bankruptcyy probate. for condemnation or
icrl‘elture. for enforcement of a lien which may attain priority over this Security instrument or to enforce
laws or regulations], or (c} Borrower has abandoned the Property, then Lender may cio and pay for
whatever is reasonable or appropriate to protect Lender's interest in the Property and rights under this
Security instrument, including protecting andror assessing the value otthe Property, and securing and/
or repairing the Property. Lender's actions can include. but are not limited to: tel paying any sums
secured by a lien which has priority over this Security lnstrument; ibi appearing in court; and lc} paying
reasonable attorneys' fees to protect its interest in the Property endicr rights under this Security
instrument, including its secured position in a bankruptcy proceeding Securing the Property includes.
but is not limited to‘ entering the Property to make repairs, change iocks. repiace or board up doors and
windows. drain water from pipes. eliminate building or other code violations or dangerous conditions.
and have utilities turned on or oit. Aiihough Lender may take action under this Sectlon 9, Lender does
not have to do so and is not under any duty or obligation to do so. it is agreed that Lender incurs no
liability for not taking any or ali actions authorized under this Sectlon 9.

Any amounts disbursed by Lender under this Sectlon 9 shall become additional debt of Borrower
secured by this Security instrumentl These amounts shall bear interest at the Note rate from the date
of disbursement and shall be payabie, with such interest. upon notice from Lender to Borrower
requesting payment

if this Security instrument is on a leasehoid. Borrower shall comply with ali the provisions of the
iease. Borrower shall not surrender the leasehold estate and interests herein conveyed or terminate or
cancel the ground iease, Borrower shall notl without the express written consent of Lender. alter or
amend the ground lease, ll Borrower acquires fee title to the Property. the leasehold and the fee title
shall not merge unless Lender agrees to the merger in writing.

10. Mortgage insurance it Lender required iviortgage insurance as a condition of making the
Loan. Borrower shall pay the premiums required to maintain the Mor‘tgsge insurance in effect if. for any
reason. the Mcrtgage insurance coverage required by Lender ceases to be available from the mortgage
insurer that previously provided such insurance and Borrower was required to make separately

designated payments toward the premiums for iviortgage lnsurance, Borrower shall pay the premiums
required to obtain coverage substantially equivalent to the Mortgage insurance previously in eitect, at
a cost substantially equivalent to the cost to Borrower ot the Mortgage insurance previously in effect.
from an alternate mortgage insurer selected by Lender. if substantially equivalent Mortgage insurance
coverage is not availabie. Borrower shall continue to pay to Lender the amount of the separately
designated payments that were due when the insurance coverage ceased to be in effect. Lender will
accept, use and retain these payments as a non-refundable loss reserve in lieu ot Mortgage lnsurance.
Such loss reserve shall be non-refundabie, notwithstanding the fact that the Loan is ultimately paid in
iul|‘ and Lender shall not be required to pay Borrower any interest or earnings on such loss reserve
Lender can no longer require loss reserve payments if Mortgage insurance coverage {ln the amount and
for the period that Lender requires} provided by an insurer selected by Lenderagalrl becomes available,
is obtained. and Lender requires separately designated payments toward the premiums ior Mortgage
insurance. if Lender required Mortgage insurance as a condition of making the Loan and Borrower was
required to make separately designated payments toward the premiums for Mortgage lnsurance.
Borrower shall pay the premiums required to maintain Mortgage insurance in effect. or to provide a non-
retundable loss reserve. until Lender's requirement for Mortgage insurance ends in accordance with
anywritien agreement between Borrower and Lender providing for such termination or until termination
is required by Applicabie Law. Nothing in this Sectlon 10 affects Borrower's obligation to pay interest
at the rate provided in the Note.
Mortgage insurance reimburses Lender (or any entity that purchases the Note,i ior certain losses
it may incur if Borrower does not repay the Loan as agreed Borrower is not a party to the Mortgage

 

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Mortgage insurers evaluate their total risk cri all such insurance in force from time t , n may

enter into agreements with other parties that share cr modify their risk, or reduce lossea. These
agreements arson terms and conditions that are satisfactory to the mortgage insurer and the other party
[or parties} to these agreements. These agreements may require the mortgage insurer to make
payments using any source of funds that the mortgage insurer may have available (which may include
funds obtained from ivicrtgage insurance pramiumsi.

As a result olthese agreements Lender, any purchaser of the Note. another insurer. any reinsurer,
any other entity, or any affiliate cf any ol' the foregoing. may receive (direct|y or indirect|yi amounts that
derive from {or might be characterized as) a portion of Borrower's payments for Mortgage insurance.
in exchange for sharing cr modifying the mortgage insurer's risk, or reducing iosses. lfsuch agreement
provides that an ali‘l|late cf Lender takes a share of the lnsursr’s risk in exchange for a share of the
premiums paid to the insurer. the arrangement is often termed “captive reinsurance " Further:

(a} Any such agreements will not effect the amounts that Borrower has agreed to pay for
Mortgsge insurancel cr any other terms ol' the Loan. Such agreements will not increase the
amount Borrower will owe for Mortgage ineurance, and they will not entitle Borrower to any
refund.

ib} Any such agreements will riot affect the rights Borrower has - if any - with respect to the
Mortgage insurance under the Homeowners Protection Actof1998 or any other law. These rights
may include the right to receive certain diaciosures, to request and obtain cancellation of the

Mortgage insurance, to have the Mortgage insurance terminated automaticaliy, andror to receive
a refund of any Mortgage insurance premiums thatwere unearned at the time of such cancellation
or termination.

11. Assignment cf liiilacelianeous Proceeds; Forfeiture. Ali Misceilanecus Proceecis are hereby
assigned to and shall be paid to Lender.

il the Property is damaged, such Misce|ianeous Proceeds shall be applied to restoration or repair
ofthe Property. ll the restoration or repairia economically feasible and Lender's security is not |essened.
During such repair and restoration period. Lender shall have the right to hold such Miscel|aneous
Proceeds until Lender has had an opportunity to inspect such Property to ensure the work has been
completed to Lender's satisfaction. provided that such inspection shall be undertaken promptlyl Lender
may pay for the repairs and restoration in a single disbursement or in a series of progress payments
as the work is completed Unless an agreement is made in writing cr Applicable i_aw requires interest
to be paid on such Mlsoel|aneous Proceeds. Lender shall not be required to pay Eicrrower any interest
or earnings oh such Misce|ianeoua Proceeds. li the restoration or repair is not economically feasible or
Len der's security would be isssened, the M|scei|anecus Proceecls shall be applied to the sums secured
by this Security instrumentl whether or not then duel with the excess. il any, paid to Borrower. Such
Miacei|aneous F'roceeds shall be applied in the order provided for in Sectlon 2.

irl the event of a total taking. destruction, or loss in value of the Propertyr the Misce||aneous Proceeds
shall be applied to the sums secured by this Security instrumentl whether or not then due, with the
excess. if any. paid to Borrower.

in the event ofa partial taking. destruction. or loss in value of the Property in which the fair market
value of the Property immediately before the partial taking, destruction. or loss in value is equal to or
greater than the amount ofthe sums secured by this Security instrument immediately before the partial
taking. destructicn. or loss in value. unless Borrower and Lender otherwise agree in writing. the sums
secured by this Security instrument shell be reduced by the amount of the Misceilaneous Prcceeds
multiplied by the following lraction: lai the total amount of the sums secured immediately before the
partial taking. destructionr or loss in value divided by fbi the fair market value ofthe Property immediately
before the partial taking. destruction, or loss in value. Any balance shall be paid to Borrower.

in the event ot a partial taking. destruction. or loss in value of the Property in which the fair market
value of the Property immediately before the partial taking, destruction. or loss in value is less than the
amountol the sums secured immediately before the partial taking, destructionr or loss in value. unless
Borrower and Lender otherwise agree in writing. the Misceiianacus Proceeds shall be applied to the
sums secured by this Security instrument whether or not the sums are then due.

ii the Property is abandoned by Borrower, cr it, after notice by Lender to Borrower that the Opposing
Party las defined in the next sentence} offers to make an award to settle a claim for damages, Borrower
fails to respond tc Lenderwilhln 30 days after the date the notice is glven, Lender is authorized to collect
and apply the Miscei|aneous Proceeds either to restoration or repair of the Property or to the sums
secured by this Security instrumentl whether cr not then due, "Opposing Party" means the third party
that owes Borrower Misceiianecus Proceeds or the party against whom Borrower has a right of action
in regard to Miscel|aneoua Prcceeds.

Borrower shall be in default if any action or proceeding, whether civil or criminai. ls begun thst. in
Lender's judgment could result in forfeiture of the Property or other material impairment of Lender's
interest in the Property cr rights under this Security instrument Borrower can cure such a default and.

ii acceleration has occurred. reinstate as provided in Sectlon 19, by causing the action or proceeding

to be dismissed with a ruling that, in Lender's judgmentl precludes forfeiture of the Property or other

material impairment cf Lender's interest in the Property or rights under this Security lnstr n e
I nl i: isle l

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proceeds of any award or claim for damages that are attributable to the impairment of m

in the Property are hereby assigned and shall be paid to Lender.

Ali Miscsl|aneous Proceeds that are not applied to restoration or repair of the Property shall be
applied in the order provided for in Sectlon 2.

12. Borrower Not Releaeed; Forbearance By Lender Not a Waiver. Extenslon of the time for
payment or modification of amortization of the sums secured by this Security instrument granted by
Lender to Borrower or any Successor in interest of Borrower shall not operate to release the liability of
Borrower or any Successors in interest cf Borrower. Lender shall not be required to commence
proceedings against any Successor in interest cf Borrower or tc refuse to extend time for payment cr
otherwise modify amortization ofthe sums secured by this Security instrument by reason of any demand
made by the original Borrower or any Successors in interest of Borrower. Any forbearance by Lender
in exercising any right or remedy inciudlng, without limitation, Lender's acceptance of payments from
third persons, entities or Successors in interest of Borrower or in amounts less than the amount then
due, shall not be a waiver ot or preclude the exercise of any right or remedy.

13. Joirrt and Several Llablilty; Co-slgners; Successore end Asslgns Bourrd. Borrower covenants
and agrees that Borrower's obligations and liability shall he joint and several However. any Borrower
who co~slgns this Security instrument but does not execute the Note la "co-signer"]: lai ls co-signing
this Security instrument only to mortgage grant and convey the co-slgner's interest in the Property
under the terms cl this Security lnstrument; ib} is not personally obligated to pay the sums secured by
this Security instrument; and (c} agrees that Lender and any other Borrower can agree to extend.
modify` forbear or make any accommodations with regard to the terms of this Security instrument or

the Note without the co~s|gner's consent

Sub]ect to the provisions of Sectlon 15. any Successor in interest of Borrower who assumes

Borrower's obligations under this Security instrument in writing. and is approved by Lender. shall obtain
all of Borrower's rights and benefits under this Security instrument. Borrower shall not be released from
Borrower's obligations and liability under this Security instrument unless Lender agrees to such release
in writing. 'i'he covenants and agreements cf this Security instrument shall bind [exceptas provided in
Section 201 and benefit the successors and assigns of Lender.

14. Loan Charges. Lender may charge Borrower fees for services performed in connection with
Borrower's defau|t. for the purpose of protecting Lender's interest in the Propertyand rights under this
Security inetrum ent. including . but notlirnited to. atto`meys' fees, property inspection and valuation fees.
in regard to any other tees. the absence cf express authority in this Security instrument to charge a
specific fee to Borrower shall not be construed as a prohibition on the charging of such iee. Lender may
not charge fees that are expressly prohibited by this Security instrument or by Appilcab|e Law.

if the Loan is subject to a law which sets maximum loan chargas, and that law la finally interpreted
so that tha interest or other loan charges collected or to be collected in connection with the Loan exceed
the permitted |imits. then: (a] any such loan charge shall be reduced by the amount necessary ic reduce
the charge to the permitted iimit: and (b] any sums already collected from Borrower which exceeded
permitted limits will be refunded to Borrower. Lender may choose to make this refund by reducing the
principal owed under the Note or by making a direct payment to Borrower. lia refund reduces principa|,
the reduction will be treated as a partial prepayment without any prepayment charge iwhcther or not
a prepayment charge is provided for under the Notel. Borrower's acceptance of any such refund made
by direct payment tc Borrowerwili constitute a waiver of any right of action Borrower might have arising
out of such overcharge.

15. Notlcea. Ali notices given by Borrower or Lender ln connection with this Security instrument
must be in writing Any notice to Borrower in connection with this Security instrument shall be deemed
to have been given to Borrower when mailed by first class mail or when actually delivered to Borrower's
notice address ifsent byother means. Notice to any one Borrower shall constitute notice to ali Borrowers
unless Appllcable Law expressly requires otherwiss. The notice address shall be the Property Address
unless Borrower has designated a substitute notice address by notice to Lender. Borrower shall
promptly notify Lender of Borrower's change of address ll Lender specifies a procedure for reporting
Borrower's change of addressl then Borrower shall only report a change of address through that
specified procedure There may be only one designated notice address under this Security instrument
at any one tlme. Any notice to Lender shall be given by delivering it cr by mailing it by first class mall

to Lender's address stated herein unless Lenderhas designated anotheraddress by notice to Borrower.
Any notice in connection with this Security lnstrumentshali not be deemed to have been given to Lender
until actually received by Lender. il anynotlce required by this Security instrument ls also required under
Appiicable Lew. the Applicable Law requirement will satisfy the corresponding requirement under this
Security instrument
16. Governlng Law; Severabillty; i~'lules of Conatruction. This Security instrument shall be
governed by federal law and the law cl the jurisdiction in which the Property is located Ali rights and
obligations contained in this Security instrument are subject to any requirements and limitations of
Applicabie Law. Applicai:r|e Law might explicitly or implicitly allow the parties to agree by contractor it
might be silent. but such silence shall not be construed as a prohibition against agreement by contract

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in the event that any provision or clause of this Security instrument or the Note conflicts with ppiicabie
Initialsr
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Case 18-1 1875l DOC 12-1 Fi|eCi 02/28/18 Page 15 Of 28

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'!
ATTEST; l ANNE ARUNDEL F
coUNTY, MAKan

Dennis Callahan,
Chief Administrative Officer for
John R. Leopoid, County Executive

STATE OF m§g gm l COUNTY OF A|i“c lily!§d&( TO WIT:

1HEREBY cERTlFY, that on this RriH/\ day of ottwa 1` ,

2011 before the subscriber, a Notary Pubiic of the State of Maryland, in and for Anne
Arundel County, personally appeared Dennis Callahan, Chief Administrative Officer for
John R. Leopoid, County Executive for Anne Arundel County, a body corporate and
politic of the State of Maryland, party to the within Floodpiain Easement, and he
acknowledged the same to be the act of said body corporate.

fcwa

Notary Public

 

WITNESS my hand and notarial seal.

My commission expires: 7

Approved for Legal Fo
Sufficiency:

  
 
  

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Ofticc of Law Date {_

I HEREBY CERTIFY that this Fioodplain Easement was prepared by Richard E.
Israei, the authorized agent of Parcel 99, LLC (an attorney or one of the parties to this

instr ont).
f U o[L///r

]i’ichard E. Israei, Assistant Manager Date

 

AFTER RECORDATION RETURN TO MS 6301

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21. Hazsrdous Substlanoes. As used in this Sectlon 21: {ai 'Hazardcus Substsnoes" are those

substances defined as toxic or hazardous substances, pollutanls, orwaetes by Envlronmentel l.aw and
the following substances: gasoline, kerosene. other flammable or toxic petroleum producte, toxic
pesticides and herbicides, volatile solvents. materials containing asbestos or formaldehyde and
radioactive materiais; (b] "Envircnmsnta| Law" means federal laws and laws of the jurisdiction where
the Properiy is located that relate to health, safety or environmental prctection: [c} "Environmente|
Ciaanup" includes any response action, remedial action. or removal action. as defined |n Envlronmentel
Law; and id] an "Envlronmentsl Condlticn" means a condition that can ceuse, contribute to, or
otherwise trigger an Environrnentat C|eanup.

Borrower shall not cause or permit the presence, usel dlsposei, slorage. or release cf any
Hazardous Substances, or threaten to release any l-|azardous Substances, on or in the Property.
Borrower shall not do. ncr allow anyone else to do. anything affecting the Property {ai that is in violation
of any Environmental Law, (b) which creates an Envlronrnenfal Oondition, or [c) which, due to the
presence. use, crre|easeofe l-iazardous Substance, createsacondltion fhatadverselyaffects the value
of the Property. `lhe preceding hare sentences shall not apply to the presenoe. use, or storage on the
Property cf small quantities of Hazardous Substsnces that are generally recognized to be appropriate
to normal residential uses and to maintenance of the Property [including, but not limited to, hazardous
substances in consumer products).

Borrower shall promptly give Lender written notice of ia} any investigaticn. ciaim, demand, lawsuit
or other action by any governmental cr regulatory agency or private party involving the Property and
any Hazardcue Substance or Envlronmental Law cf which Borrower has actual knowiedge. fbi any
Environrnentai Condltlon. including but not limited tc. any spli|lng, iesking. discharge release cr threat
cf release of any Hazerdous Substance, and [c} any condition caused by the presence. use or release
of e l-iazardous Substance which adversely affects the value of the Property. if Borrower learnsl or is
notified by any govemmentai or regulatory authority, or any private party. that any removal or other
remediation of any l-lazardous Substance affecting the Property is necessary. Borrower shall promptly

take ali necessary remediai actions ln accordance with Environrnentsl Law. Nothing herein shall create
any obligation on Lender for an Environmcnta| Cleanup.

NON-UN|FOF|M COVENANTS. Borrower and Lender further covenant and agree as foilows:

22. Accslerstlon; Fiemed|es. Lender shell give notice to Borrower prior to acceleration
following Borrower’e breach of sny covenant or agreement In this Security instrument {but not
prior to acceleration under Sectlon 18 unisss Appl|cabls st provides otherwise}. The notice
shell specify: (s) the default; (b) the action required to cure the defeult; (c) s date, not fees than
30 days from the date the notice ls given to Borrower. by which ihs default must be cured; and
(d) that fs|iure to cure the default on or before the date specified in the notice may result in
acceleration ofthe sums secured bythls Security instrument snd ssle of the Property. The notice
shall further inform Borrower cf the right to reinstate siler acceleration end the right to assert in
the foreclosure proceeding the non-existence of a default cr sny other defense of Borrower to
acceleration and eale. lf the default is not cured on or before the date specified in the notice,
Lender st its option may require immediate payment in full of sli sums secured by this Security
instrument without further demand end may invoke the power of sale, assent to decree, snd,lor
sny other remedies psn'nitted by Appi|cab|e st. Lender shell be entitled to collect ali expenses

incurred in pursuing the remedies provided in this Sectlon 22. lncludlng, but not limited to,
reasonable stinrneye’ fees end costs of tliis evidence.

if Lender invokes the power of ssie, lender shall mall or cause Tn.rstee to mail s notice of sale
to Borrower in the manner prescribed byAppf|oeble st. Truetee shall give notice of sale by public
advertisement end by such other means ssrequired by Appllcsbie st. Trusteel without demsnd on
Borrowerl shall sell the Property st public auction to the highest bidder st the time end place and
under the terms designated in the notice of ssie in one or more parcels end ln shy order Tn.lstee
detenn lnes. Trustee may postpone safe of eli oreny parcel of the Property by public announcement
stthe time end place cfsnypreviousiy scheduledst sndbynotfceto sny otherpersonsas required
by Appiicsbie lsw. Lender or its designee may purchase ihs property st any ssie¢

Trustee shall deliver to the purchaser Trustse's deed conveying the Property without sny
covensntorwsrranty, expressed orlrnpiled. The recitals lntheTrustse’s deed shs|i be prima facie
evidence of the truth of the ststements made thereln. Trustse shell apply the proceeds of the sale
in the following order: (s) to sit expenses of the ssle, lncludlng, but not limited to, Trustes's fees
of 5¢ of the gross ssie price and reasonable attomeys' fees; {b) to sii sums secured
by this Security |nstrument; end (c} any excess to the person or persons tegsliy entitled to it.

Borrower, in accordance with Tltle 14, Chspter 200 of the Msrylsnd Rules of Prccedu rs, does
hereby declsrs end assent to the passage of s decree to self the Property in one or more psroeie
by the equity court having jurisdiction for the seis of the Property, end consents to the granting
to any trustee appointed by the sssent to decree of eli the rlghts, powers snd remedies granted

to the Trustes in this Security instrument together with sny end ell rightsl powers end remedies

granted by the deorse. Netther the essential decree nor the powerof seis granted l
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22 shall be exhausted in the event the proceeding ls dismissed before the payment ln full ot ali
sums secured by this Security instrumentl

23. Fleleaee. Upon payment of all sums secured by this Security |nstrument, Lender or Trustee,
shall release this Security instrument and mark the Note "peid" end return the Note to Borrower.
Borrower shell pay any recordation ccsts. Lender `may charge Borrower a tee for releasing this Security
|nstrun'lent, but only lt the tee is paid to a third party for services rendered end the charging of the lee
is permitted under App|lceble Law.

24. Subetilute Truetee. Lender. at its option. may from time to time remove Trustee end appoint
a successor trustee to any Trustee appointed hereunder by an instrument recorded in the city or county
|n which this Security instrument is recorded Wlthoul conveyance of the Property. the successor trustee
shell succeed to ell the titlel power and duties conferred upon Trustee herein and by Appiiceb|e Law.

25. Poeeesslon et the Property. Borrower shall have possession of the Property until Lender has
given Borrower notice ct delau|t pursuant to Sectlon 22 et this Security lnslrument.

BY S|GN|NG BELOW, Borrower accepts end agrees to the terms and covenants contained in this
Security instrument and in any Fiider executed by Borrower a d record '

   
 

state of MARYLAND
county of Anne Arundel

 

 

 

On thisZ?th day of June , 2006 , before me,
Sar§l_rh L. Bl.ttts , the undersigned officer, personally
appeared

 

Ursula F. Philpot

 

 

(name(s) of person(s) who make acknowledgement), known to me (or
satisfactorily proven) to be the person(s) whose name(s) iS
subscribed to the within instrument and acknowledged that SH€
executed the same for the purposes therein contained.

In witness whereof I hereunto set my hand and official seal.

SARAH L. BUTI'S
NOTARY PUBLIC
ANNE ARUNDEL COUNTY
MARYLAND
My Commission Expires: 6/01/ 2010

 

My Commission Expires
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STATE OF Maryland Anne Arundel County ss:
(or City of Baltimore)
| Hereby Certify, that on this 21 day of ,Im}g l ZQQ§ before me, the
subscriber, a Notary Pubiic of the State ot Maryland and for the
county afores_aid personally appeared,

 

 

Victoria E. Jarbge

 

 

 

 

the agent of the party secured by theloregcing Security instrumentl and made oath in due term ot law
that the consideration recited in said Security instrument is true and bona tide as therein set forth and
that the actual sum of money advanced at the closing transaction by the secured party was paid over
and disbursed by the party or parties secured by the Security instrument to the Borrower orto the person
responsible for disbursement ot funds in the oloslng`lransaction or their respective agent at s time not
later than the execution and delivery by the Borrower of this Security lnstrument; and also made oath
that he or she is the agent ot the party or parties secured and is duly authorized to mal-re this affidavit

AS W|TNESS: my handSrNRWi telel.Bu'|-rs ,
My Commission Expires: NOTARY PUB -?¢?l"l"
ANNE ARUNDEL COUNTY
MARYLAND
[:|Th|s is to cl";iryfy€ommisslon E_xplres: 6/01]2010

that the within instrument has been prepared under the supervision of a
Maryland attorney.

     

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Name:

is is to certify that the within instrument has been prepared by Jean Barnes

Closer for First Home Mortgage Corporation one of the
parties named within this instrument.

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Na : Jean Barnes
Tiii .' Closer

 

      
    

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PLANNED uNlT DEvELoPMENT nlDELn°"N -

TH|S F'LANNED UN|T DEVELOPMENT Fl|DEFl is made this me day of
Juur:, 2006 and is lncor|porated into and shall be deemed to amend and
supplement the liriortgagel Deed of rust or Security Deed (the “Security lnstrument")
of the same date, given by the undersigned (the "Borrower") to secure Borrower's Note
tD FIRBT HOME MORTGBGE CORPDRATION , it MARYLAND CORP|JRATION

(the "Lender"]
of the same date and covering the Property described in the Security instrument and
located at: 1130 possess counr, sown:, no 20116.

The Property inciudes, but is not limited toy a parcel of land improved with a dwellingl
together with other such parcels and certain common areas and i‘aci|itiesl as described
l|'i CO\"EBI'ANTB , CDNDITIONS AND RESTRICTIONB

(the "Dec|aration").
The Property is a part of a planned unit development known as arnoavrsw esm-res

(the "PUD"]. The Property also includes Borrower's interest in the homeowners
association or equivalent entity owning or managing the common areas and facilities

of the PUD (the "Owners Association"i and the uses, benefits and proceeds of
Borrower's interest

 

PUD COVENANTS. in addition to the covenants and agreements made in the
Security |nstrument. Borrower and Lender further covenant and agree as foilows:

A. PUD Obligations. Borrowershai| perform all of Borrower's obligations under the
PUD‘s Constltuent Documents. The "Ccnstituent Documents" are the (i) Deciaration;
(ll) articles of incorporation trust instrument oren equivalent document which creates
the Owners Association; and (iii] any by»laws or o er rules or regulations of the Owners
Association. Borrower shall promptly pay. when due, all dues and assessments
imposed pursuant to the Constituent Documents.

B. Froperty lnsurance. Sc long aetna Ownsrs Association maintains with a generally
acce ted insurance carrierl a "master" or “bianket" policy insuring the Property which is
sells cry to Lender and which provides insurance coverage in the amounts (including
deductible ievels), tor the periods. and against loss by ilre, hazards included within the term
"extendecl coverage, " and any other hazards, including but not limited to, earthquakes and
floods, for which Lender requires insurancel then; (i) Lender waives the provision in Section
3 for the Perlodic Payment to Lender of the early premium installments for properly
insurance on the Property; and (ii) Borrower'sobi alien undersection 5 to maintain property
insurance covera e on the Property is deem satisiied to the orient that the required

coverage is provi ed by the Owners Association policy.

What Lender requires as a condition ctthis waiver can change during the term ofthe |oan.

Borrower shall give Lender prompt notice of any lapse in required property
insurance coverage provided by the master or blanket policy.

in the event of a distribution of property insurance proceeds in lieu of restoration or
repalrtol|owinga iossto the Property, orto common areas and facilities ofthe PUD, any
proceeds payable to Borrower are hereby assi ned and shall be paid to Lender. Lender
shall appciy the proceeds to the sums secur by the Security instrument whether or
not then ue, with the excess, if any. paid to Borrower.

C. Pub|lc Llab||ity lnsurance. Borrower shall take such actions as may be
reasonable to insure that the Owners Associaticn maintains a public liability insurance
policy acceptable in torm, amount, and extent of coverage to Lender.

D. Condernnetion. The proceeds of any award or claim for damagesl direct or
consequential, payable to Borrower in connection with any condemnation or other
taking of ali or any part cf the Property ortho common areas and facilities of the PUD,

or for any conveyance in lieu of condemnaticn, are hereby assigned and sha: § Eai: >
I nit ials l '

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to Lender. Such proceeds shall be applied by Lender to the sums seM

Securi instrument as provided in Section 11.

E. ender's Prior Consent. Borrower shall not, except after notice to Lender and with
Lender's prior written consentl either partition or subdivide the Property or consent to: (i) ina
abandonment or termination of the PUD, exce tfor abandonment or termination required
by law in the case of substantial destn.iction by t§'e or other casualty or in the case of a taking
bycondemnationoreminentdomain; (ii) anyamendmentto anfy provision ofthe "Constituent
Documents" if the provision is for the express benth o ender; (iii) termination of
professional management and assumption of self-management of the Owners Association;
or (iv) any action which wouid have the effect of rendering the public liability insurance
coverage maintained by the Owners Asscciation unacceptable to Lender.

F. Flemedies. ii Borrower does not pajy PUD dues and assessments when due,
then Lender may pay them_ Any amounts isbursed by Lender under this paragraph
F shall become additional debt of Borrower secured by the Security instrument nless
Borrower and Lender agree to other terms of payment, these amounts shall bear
interest from the date of disbursement at the Note rate and shall be payabie, with
interestl upon notice from Lender to Borrower requesting payment

BY S|GN|NG BELOWl Borrower accepts and agrees to the terms d co enan
contained in this PUD Rlder.

 

 

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ADJUSTABLE RATE AND BALLOCN R|DER

(|ndex: Six-Month London lnterbank Ofl‘ered Ftate (“LiElC'Fl") As Pubiished in
The Wall St. Journal - Ftate Caps)
(Amortization Period: army terms )
(Not Assumable)
(Not to be Used for Texas Homestead Lcans Unless Proceeds Used Only for
Purchase Money or Reiinance ot Purchase Money)

This Adiustabie Fiate and Ba|ioon Ftider is made this ama day of .ruNa, 2006 ,

and is incorporated into and shall be deemed to amend and supplement the lvlortgage,
Deed of Trustl or Security Deed (the “Security instrument") of the same date given by
the undersigned (the "Borrower") to secure Borrower's Adjustabie Hate Note as
amended and supplemented by the interest Only Payment Period Note Addendum to
Adjustab|e Flate Note (coilectively the “Note") to nasa acme nonsense
CORPCRATION, A MARYLAND CORPORATION

 

(the "i.ender") of the same date and covering the property described in the Security
instrument and located at:

1130 PEWTER COURT
BOWIE, MD 20716

A_CE64 27576. Date available 04/16/2007. Printed 11/30/20‘|6.

TH|S LOAN IS PAYABLE IN FULL ON THE MATUHITY DATE SET FOHTH lN THE
SECUFl lTYiNSYFlUM ENT. THE BORROWER M UST HEPAY THE ENT|RE PR|NCIPAL
BALANCE OF THE LOAN, UNPA|D |NTERESTAND OTHER SUMSTHEN DUE. THE
LENDEFl lS UNDEF| NO OBL|GATION TO FlEF|NANCE THE LOAN AT THAT TlME.
THE BORROWEF| WILL, THEF|EFOHE, BE RECU|RED TO MAKE PAYMENT OUT
OF OTHE|`-l ASSETS THAT THE BOFIF|OWEF{ MAY OWN, OF| THE BOF{HOWER
W|LL HAVE TO FlND A LENDER, WH|CH MAY BE THE LENDEH THE BOF|ROWER
HAS TH|S LOAN W|TH, W|LL|NG TO LEND THE BOFIF|OWEH THE MONEY. lF THE
BOFIROWER FlEFlNANCES TH|S LOAN AT MATURITY, THE BORROWEF\ MAY
HAVE TO PAYSOME OR ALL OFTHE CLOS|NG COSTS NORMALLYASSOC|ATED

W|TH A NEW LOAN EVEN lF THE BORROWEF¢ OBTAINS REF|NANC|NG FROM
THE SAME LENDER.

 

ADD|T|ONAL COVENANTS. in addition to the covenants and agreements made in
the Security lnstrument, Borrower and Lender further covenant and agree as follows:

A. lNTEFtEST RATE AND MONTHLY PAYMENT CHANGES
The Note provides for an initial interest rate of 7 .750%. The Note provides for

changes in the interest rate and the monthly payments as follows:
6 Month LIBOR Adjustable Rate and Ba|loon Rlder - Multlstate Form FFoaeel In.‘l.tials c
Onllne Documsnts, lnc. Pa90 1 of 3 PS LFl OBOB

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LOAN #l
4. |NTEFIEST HATE AND MONTHLY PAVMENT CHANGES -
(A) Change Dates

The interest rate | will pay may change on the first day of .wu, 2009,

and may change on that day every sixth (6'") month thereafter. Each date on which my
interest rate could change is called a "Change Date. "

(B)The index

Beginning with the first Change Date. my interest rate will be based on an ind ex. The
“|ndex“ is the six month London interbank Offered Rate (“l_lBOR") which is the average
oflnterbank offered rates for six-month U.S. dollar-denominated deposits in the London
market, as published in The Wa|i Street Journa|. The most recent index figure available
as of the first business day of the month immediately preceding the month in which the
Change Date occurs is called the "Current index."

if the index is no longer avaiiable, the Note Hoider will choose a new index that is
based upon comparable information The Note Holderwill give me notice of this choice.

 

(C)Caiculation of Changes

Before each Change Date, the Note Hoider will calculate my new interest rate by
adding F:ve rule manes-arcane percentage point(s) ( 5.315% ] to
the Current lndex. The Note Hoider will then round the result of this addition to the nearest
one-eighth ofone percentage point (0.125%). Subiectto theiimits stated in Section 4(D)
beiow, this rounded amount will be my new interest rate until the next Change Date.

The Note Hold er will then determine the amount ofthe monthly payment that would
be sufficient to repay the unpaid principai that l am expected to owe at the Change Date
in full arm (50) years after the date ofthe Note at my
new interest rate in substantially equal payments The result of this calculation will be

the new amount of my monthly payment l will pay the remaining unpaid principal
balance on the Maturity Date.

A_CE64 27576. Date available 04/16/2007. Printed 11/30/2016.

(D) Limlts on interest Ftate Changes
The interest ratel am required to pay at the first Change Date will not be greater than
10 .150% oriess than 'r .'rso\. Thereafterl my interest rate will never be increased
or decreased on any single Change Date by more than one
percentage point(s) ( 1.000% )from the rate
of interest l have been paying for the preceding six months My interest rate will never
be greater than 13 .150% nor less than 1 .750% .

(E) Effective Date of Changes

My new interest rate will become effective on each Change Date. i will pay the
amount of my new monthly payment beginning on the first payment date after the
Change Date until the amount of my monthly payment changes again

6 Month L|BOR Adlustable Rate and Ba|loon Rlder - Multistate Form FFOSeel Initialst
Online Documents. lnc. Pag¢ 2 Of 3 PESZGBLH 08

 

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Case 18-11875 Doc 12-1 Fi|ecl 02/28/18 Page 23 ot zts

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LOAN l
(F) Notfce of Changes -

The Note Hoider will deliver or mail to me a notice of any changes in my interest rate and
the amount of my monthly payment before the effective date of any changel The notice will
include information required by law to be given and also the title and telephone number of
a person who will answer any question i may have regarding the notice

BY S|GN|NG BELOW, Borrower accepts and agrees to the terms and covenants
contained in this Adjustab|e Ftate and Balioon Flider, i

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u um r-' PttILPoT/ / /

 

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[Sign Orlginal On|y]

6 Month LlBOR Adlustab|e Flnte and Balloon Rlder - Muitistate Form FF0386|

Onl|ne Documents. |nc. Page 3 of 3 _

PR|NCE GEORGE'S COUNTY CIRCU|T COURT (Land Records) PM 27427, p. 0471, MS

 

 

CaSe 18-11875 DOC 12-1 Filed 02/28/18 Page 24 Of 28

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KNOW ALL MEN BY TI'IESE PRESENTS that,FIRST FRANKLIN FINANCIAL CORPORATION

 

 

located at 2150 NORTH FIRST STREET, SUITE 100, SAN JOSE, CA 95131
for value received, does hereby grant, assign, transfer and set over unto

SEE ATTACHF}D EXi-iTRT'T‘ 1.\

 

 

 

 

located at ,

 

its successors and assigns a certain lViortgage/Deed of Tru.st dated the 27t__h day of J'UNE
2006 executed and delivered by URSULA F PHE¢PC'I', AS HER SOLE AND SEPARAIE PROPHZTY

 

and recorded in liber , folio , with PD\i # ,
of the nortgage records, in the Circuit Court Cleri-c's office of H?.INCE GEJC!RGE’S

State of Maryland on the day of , all sums of money due and to become
due thereon.

 

'S COUNTY C|RCU|T COURT (Land Records) N|MB 33700, p. 0033, MSA_CE64_34191. Date available 06/29/2012. Printed 08/23/2017.

   
    

Page l of 2

PR|NCE G

CaSe 18-11875 DOC 12-1 Filed O2/28/18 Page 25 Of 28

LOAN. NO
IN WITNESS WHEREOF, FIRST FR.ANKLIN FINANCIAL CORPO.R.ATION

 

has caused these presents to

 

be signed in its Corporate name on behalf of its VICE PRESIDENT
and attested by its
f 'Ihis 3lst day of J'ULY 2006 , but effective the day of

` 33700 031» .

nted 08/23/2017

 

 

IN PRESENCE OF:

FIRST F.R.A.NKLIN FINANCIAL PORATION
i/it-.»/\~'- S-`-= V \ ` BY

wiv;ness,, WQM €L SM-,Tg_, MARY ENOS
VICE PRESIDENT

‘ %oq %U%r/ By
Witness, L|'w Fq\\@(
STATE OF IDAHO )

A CE64_34191. Date available 06/29/2012. P

 

COUNTY OF BONNEVILLE' )

 

 

 

On JULY 31, 2006 , before me, the undersigned, personally appeared
MARY ENOS known to me to be the person who executed the within instrument
as the VICE PRESIDENT and

 

 

known to me to be the person who executed the within instrument as the

of the Corporation that executed the within instrument and
acknowledged to me that the Corporation executed the within instrument pursuant to its by-laws
or a resolution of its board of directors. ` _
WITNESS my hand and official seal. . JOAN CQOK

. NOTARY Pueuc
<Z -_- _ sTATE or loAHo
.JuEf\icooK farmsst ExP. 02-16-07) h n n `
NOIARY PUBLIC

THIS IS TO CERTIFY 'IHAT 'IHIS INSTRUMENI` WAS PREPARED BY SECURITY CONNECTIONS, INC.
UNDER THE AUI'HORIZATION OF FIRST FRANKLIN FINANCIAL CORPOR.ATION

 

 

 

 

 

 

 

ONE OF THE PARTIES 'IO THE WI'I'HIN INSTRUMEIN'I'.
FIRST FR.ANKLIN FINANCIAL CORPORATION

_,/Q

MAR Y ENOS
VICE PRES IDEN'I'

 

Page 2 of 2

 

PR|NCE GEORGE'S COUNTY ClRCU|T COURT (Land Records) N|MB 33700, p. 0034, MS

A_CE64 34191. Date available 06¢’29.-“2012. Priltted 08!23»"2017.

PR|NCE GEORGE'S COUNTY CIRCUIT COURT (Land Records} MMB 33700. p. 0035, MS

CaSe 18-11875 DOC 12-1 Filed O2/28/18 Page 26 Of 28

33700 035

EXHIBIT A

**U.S. Bank National Association, as trustee, on behalf of the holders of the First
Franklin Mortgage Loan Trust 2006-FF14 Mortgage Pass-Through Certiflcates, Series
2006-FF14

A_CE64 34191. Date available 06/29/201'2. Pr'inted 08/23/2017.

PR|NCE GEORGE'S COUNTY C|RCU|T COURT (Land Records) MMB 33700, p. 0036, MS_

_ case __1 8_-1.1875 cp_¢_.,tz_-__t Flle_d 02./._28/_1_& Page 2.7._of._.2_8 _

33700 035

EXHIBIT A

LOT NUMBER_ED FlFTY-TWO (52), IN BLOCK LETTERED "C", AS SHOWN ON
THE PLAT ENT[TLED "PLAT FOUR, RIDGEVIEW ESTATES ADDITION", WHICH
PLAT IS RECORDED AMONG THE LAND RECORDS OF PRINCE GEORGE`S
COUNTY, MARYLANDIN PLAT BOOK NLP `NO. 127 PLAT 28.

This is an at:tem it to collect a debt and any information obtained mai be used for that iuiose,

 

, MSA_CE64 34191. Date available 06/29/2012. Printed 08/23/2017.""

PR|NCE GEORGE'S COUNTY C|RCU|T COURT (Land ReCOrdS) MMB 33700, p. 0037

CaSe 18-11875 DOC 12-1 lFi|eCi O2/28/18 Page 28 Of 28

State of Maryland Land Instrument Intake Sheet 3 3

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